        Case 2:23-cv-01379-JFM Document 7 Filed 05/04/23 Page 1 of 19




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Joseph Foresta,                                       CIVIL ACTION

                   Plaintiff,                         NO. 2:23-CV-01379

       v.

Airbnb, Inc.,

                   Defendant.


                      DEFENDANT AIRBNB, INC.’S MOTION
            TO COMPEL ARBITRATION AND TO STAY PROCEEDINGS, AND
                TO DISMISS FOR LACK OF PERSONAL JURISDICTION

       Defendant Airbnb, Inc. (“Airbnb”), by and through undersigned counsel, hereby submits

its Motion to Compel Arbitration and to Stay Proceedings, and to Dismiss for Lack of Personal

Jurisdiction (the “Motion”). For the reasons set forth below, the Court should compel Plaintiff

Joseph Foresta (“Plaintiff”) to binding arbitration and stay all proceedings in the interim or dismiss

Plaintiff’s Complaint for lack of personal jurisdiction pursuant to Fed. R. Civ. P. 12(b)(2).

I.     INTRODUCTION

       Plaintiff’s claims—based on damages allegedly incurred while serving as the host of an

accommodation (the “Premises”) he listed on Airbnb’s online marketplace (the “Platform”)—

cannot proceed in this forum for two reasons. First, Plaintiff must pursue all claims against Airbnb

in binding arbitration. It is undisputed that Plaintiff consented to Airbnb’s Terms of Service

(“TOS”) and Host Guarantee Terms (“HG Terms”), both of which include mandatory arbitration

agreements. Those arbitration agreements cover all claims arising out of or relating to the use of

the Platform or any Airbnb service, including Plaintiff’s listing of his property as a host, and




                                                                           010690_0028-676804194-38/3.0
        Case 2:23-cv-01379-JFM Document 7 Filed 05/04/23 Page 2 of 19




delegates all questions concerning arbitrability to the arbitrator. Thus, the Court should compel

Plaintiff to binding arbitration and stay all proceedings in the interim.

       Second, even if Plaintiff is not subject to mandatory arbitration (which he is), the Court

should dismiss Plaintiff’s claims against Airbnb for lack of personal jurisdiction. As an out-of-

state defendant that simply operates an internet platform accessible to anyone in the world with

internet access, Plaintiff cannot establish that Airbnb is subject to either general or specific

personal jurisdiction in Pennsylvania. Airbnb does not have continuous and systematic contacts

with Pennsylvania for purposes of general personal jurisdiction. Nor can Plaintiff demonstrate

the required connections for specific personal jurisdiction. Airbnb does not have the requisite

minimum contacts with Pennsylvania, nor do Plaintiff’s claims arise out of or relate to any such

contacts with Pennsylvania. Thus, the Court should dismiss Plaintiff’s Complaint as to Airbnb

for lack of personal jurisdiction in the alternative to compelling Plaintiff to arbitration.

II.    BACKGROUND

       A.      Airbnb and the Airbnb Platform.

       Airbnb is a corporation formed under the laws of Delaware with its principal place of

business in San Francisco, California. Declaration of Darien Shepherd in Support of Defendant

Airbnb, Inc.’s Motion to Compel Arbitration and Motion to Dismiss for Lack of Personal

Jurisdiction (“Shepherd Decl.”) ¶ 2. 1 Airbnb does not maintain offices in Pennsylvania. Id.

Airbnb provides an online marketplace—the Platform—accessible through an internet connection




1
  The Court may consider affidavits and other evidence when deciding a motion to dismiss for
lack of personal jurisdiction. See Martin v. White, No. 1:22-cv-01482, 2023 U.S. Dist. LEXIS
33394, at *13 (M.D. Pa. Feb. 28, 2023) (explaining that the court may consider affidavits and
additional evidence when determining questions of personal jurisdiction).




                                                 -2-
        Case 2:23-cv-01379-JFM Document 7 Filed 05/04/23 Page 3 of 19




anywhere in the world. Id. The Platform connects individuals who wish to offer accommodations,

known as “hosts,” with those seeking to book accommodations, known as “guests.” Id. Hosts

and guests are collectively referred to as “Members.” Id. A guest who wants to book an

accommodation can sign up and use Airbnb’s marketplace to communicate directly with a

property’s host to request a booking. Id.

       Airbnb’s role is limited to providing the Platform. See id. In other words, Airbnb

“facilitates the marketplace for property rentals and payment for bookings but is otherwise not

involved in the interaction between a host and guest.” Selden v. Airbnb, Inc., 4 F.4th 148, 152

(D.C. Cir. 2021); Shepherd Decl. ¶¶ 4-5.          In particular, Airbnb does not operate the

accommodations listed on the Platform, and Airbnb’s Platform does not set prices or determine

availability, as those decisions are made instead by the host, who decides whether to list the

accommodations and on what terms. Selden, 4 F.4th at 152; Shepherd Decl. ¶ 3. In other words,

Airbnb does not own or control the properties that hosts list on the Platform, but instead allows

hosts and guests to connect with each other to transact, make payments, and communicate. See

Airbnb, Inc. v. City & County of San Francisco, 217 F. Supp. 3d 1066, 1069 (N.D. Cal. 2016)

(noting that “Airbnb does not own, manage or operate any of the host properties, and is not a party

to the rental agreements”); Carroll v. Am. Empire Surplus Lines Ins. Co., 289 F. Supp. 3d 767,

772 (E.D. La. 2017) (same); see also Shepherd Decl. ¶ 6.




                                               -3-
          Case 2:23-cv-01379-JFM Document 7 Filed 05/04/23 Page 4 of 19




          B.     Both the TOS and the HG Terms Require Plaintiff to Arbitrate All Disputes
                 With Airbnb Arising Out Of or Relating To the TOS or the HG Terms.

          Plaintiff is seeking to recover for damages a guest allegedly caused at the Premises and

for that guest overstaying a reservation at the Premises. See Compl. ¶¶ 12-16.

          Airbnb’s business records indicate that Plaintiff created his Airbnb account on July 3,

2019, and affirmatively indicated his consent to Airbnb’s Terms of Service (“TOS”) upon

completing the sign-up process. See Shepherd Decl. ¶¶ 11-17, Exs. A-E. The first page of the

TOS states in bold typeface that “Section 19 of these Terms contains an arbitration clause and

class action waiver that applies to all Airbnb Members. If your country of residence is the

United States, this provision applies to all disputes with Airbnb. . . . Please read it carefully.”

Shepherd Decl. ¶ 19, Ex. F at 1. Section 19 continues:

          19.4 Agreement to Arbitrate. You and Airbnb mutually agree that any dispute,
          claim or controversy arising out of or relating to these Terms or the
          applicability, breach, termination, validity, enforcement or interpretation
          thereof, or to the use of the Airbnb Platform, the Host Services, the Group
          Payment Service, or the Collective Content (collectively, “Disputes”) will be
          settled by binding individual arbitration (the “Arbitration Agreement”). If
          there is a dispute about whether this Arbitration Agreement can be enforced
          or applies to our Dispute, you and Airbnb agree that the arbitrator will decide
          that issue.

Id. ¶ 20, Ex. F § 19.4. The arbitration agreement is clear that it applies broadly to any claim

arising out of or relating to the use of Airbnb’s online platform, content, and service. Id. ¶¶ 19-

20, 23.

          Additionally, Plaintiff affirmatively indicated his consent to the HG Terms, which were

incorporated by reference and formed a part of the TOS, upon completing the sign-up process.

See Shepherd Decl. ¶¶ 11-18, Exs. A-F. The HG Terms are binding as soon as an accommodation,

such as the Property, is posted on the Platform. See id. ¶ 18, Ex. G at 1. Plaintiff began listing




                                                -4-
        Case 2:23-cv-01379-JFM Document 7 Filed 05/04/23 Page 5 of 19




the Premises for booking through the Platform on or about November 24, 2019. See id. ¶ 18, Ex.

H.

       The first page of the HG Terms states, in bold typeface, that: “These [HG] Terms contain

an arbitration clause and class action waiver that applies to all Airbnb Members. If you

reside in the United States, this provision applies to all disputes with Airbnb. … By accepting

these [HG] Terms, you agree to be bound by this arbitration clause and class action waiver.

Please read it carefully.” See id. ¶ 21, Ex. G at 1. Section X continues:

       4. Agreement to Arbitrate. You and Airbnb mutually agree that any dispute,
       claim or controversy arising out of or relating to these [HG] Terms or the
       breach, termination, enforcement or interpretation thereof, or to the use of the
       Airbnb Platform, the Host Services, or the Collective Content (collectively,
       “Disputes”) will be settled by binding arbitration (the “Arbitration
       Agreement”). If there is a dispute about whether this Arbitration Agreement
       can be enforced or applies to our Dispute, you and Airbnb agree that the
       arbitrator will decide that issue.

Id. ¶ 22, Ex. G § X.4.

       The arbitration agreement in the HG Terms is clear that it applies broadly to any claim

arising out of or relating to the HG Terms, including Plaintiff’s claims here seeking recovery under

the HG Terms, as well as any use of the Platform or Airbnb services. Id. ¶¶ 21-23.

       The arbitration agreement contained in both the TOS and HG Terms each clearly state that

“[i]f there is a dispute about whether this Arbitration Agreement can be enforced or applies

to our Dispute ... the arbitrator will decide that issue.” Id. ¶ 24, Ex. F § 19.4, Ex. G § X.4.

Thus, Plaintiff’s claims are subject to a binding arbitration agreement, both under the HG Terms

and the TOS.




                                               -5-
        Case 2:23-cv-01379-JFM Document 7 Filed 05/04/23 Page 6 of 19




III.   ARGUMENT

       A.      The Court Should Compel Plaintiff to Arbitration and Stay These
               Proceedings in the Interim.

       The Federal Arbitration Act (“FAA”), which governs the TOS and the HG Terms, 2

codifies a strong federal policy favoring arbitration, making the arbitration agreements contained

therein “valid, irrevocable, and enforceable, save upon such grounds as exist at law or in equity

for the revocation of any contract.” 9 U.S.C. § 2. Indeed, “courts must rigorously enforce

arbitration agreements according to their terms, including terms that specify with whom the parties

choose to arbitrate their disputes and the rules under which that arbitration will be conducted.”

Am. Express Co. v. Italian Colors Rest., 570 U.S. 228, 233 (2013); Gaffer Ins. Co. v. Discover

Reinsurance Co., 936 A.2d 1109, 1113 (stating that Pennsylvania’s “well-established public

policy favor[ing] arbitration” is consistent with federal policy). “‘[W]here the contract contains

an arbitration clause, there is a presumption of arbitrability in the sense that an order to arbitrate

the particular grievance should not be denied unless it may be said with positive assurance that

the arbitration clause is not susceptible of an interpretation that covers the asserted dispute.

Doubts should be resolved in favor of coverage.’” United Steelworkers of Am., AFL-CIO-CLC v.

Lukens Steel Co., Div. of Lukens, Inc., 969 F.2d 1468, 1474 (3d Cir. 1992) (quoting AT&T

Technologies, Inc. v Communications Workers of America, 475 U.S. 643, 650 (1986).




2
  Section X.6 of the HG Terms and 19.6 of the TOS provide that the “Federal Arbitration Act
governs the interpretation and enforcement” of the respective agreements’ arbitration provisions.
Shepherd Decl., Ex. F § 19.6, Ex. G § X.6; see also Bill Gray Nissan, Inc. v. Am. Suzuki Motor
Corp., Civil Action No. 02-450, 2002 U.S. Dist. LEXIS 17297, at *6 (W.D. Pa. July 26, 2002)
(“The FAA preempts state laws that ‘require a judicial forum for the resolution of claims which
the contracting parties agreed to resolve by arbitration.’”); Preston v. Ferrer, 552 U.S. 346, 359
(2008).




                                                -6-
        Case 2:23-cv-01379-JFM Document 7 Filed 05/04/23 Page 7 of 19




       When faced with a motion to compel arbitration, the court’s role is limited to whether an

agreement to arbitrate exists and, if so, whether the agreement encompasses the dispute at issue.

Lenox Corp. v. Blackshear, 226 F. Supp. 3d 421, 428 (E.D. Pa. 2016). In analyzing these

questions, the Court must apply California contract law because the TOS contains a choice-of-

law provision under section 21.1, and the HG Terms incorporates that provision by reference. Ex.

F § 21.1, Ex. G at 12. See Wolsey, Ltd. v. Foodmaker, Inc., 144 F.3d 1205, 1210 (9th Cir. 1998)

(“In construing an arbitration agreement, courts must apply ordinary state-law principles that

govern the formation of contracts.”); Century Indem. Co. v. Certain Underwriters at Lloyd’s, 584

F.3d 513, 524 (3d Cir. 2009) (same). But where, like here, the arbitration agreement clearly and

unmistakably delegates threshold issues of arbitrability to the arbitrator, the Court should stay the

case and refer the matter to arbitration without further consideration. Henry Schein, Inc. v. Archer

& White Sales, Inc., 139 S. Ct. 524, 530 (2019) (explaining that the court must refer the matter to

arbitration and may not consider the merits, even if the claim appears frivolous); see also, Lukens

Steel, 969 F.2d at 1474 (explaining that a court determining a motion to compel arbitration is not

to consider the merits of the claims).

           1.      Plaintiff is Bound to a Valid, Enforceable Arbitration Agreement.

       First, Plaintiff is bound to the TOS and HG Terms because he affirmatively consented to

them upon completing the sign-up procedure. See Shepherd Decl. ¶¶ 16-18, Ex. F, Ex. G. Under

California law, assent to an online contract—like the HG Terms and the TOS—exists when the

user affirmatively clicks an “accept”-type button, like Plaintiff did here. See, e.g., Oberstein v.

Live Nation Entm’t, Inc., --- F.4th ----, 2023 U.S. App. LEXIS 3378, at **20-25 (9th Cir. Feb. 13,

2023) (finding manifestation of assent to arbitration agreement in Live Nation’s Terms of Use




                                                -7-
         Case 2:23-cv-01379-JFM Document 7 Filed 05/04/23 Page 8 of 19




where users were notified that “by creating an account, signing in, or purchasing a ticket, and

proceeding to the next page, the user ‘agrees to our Terms of Use.’”); Holl v. United States Dist.

Court (In re Holl), 925 F.3d 1076, 1084-85 (9th Cir. 2019) (finding assent to arbitration agreement

incorporated by reference in UPS user agreement because the plaintiff “affirmatively assented to

the UPS My Choice Service Terms. He checked a box acknowledging as much.”); Meyer v. Uber

Techs., Inc., 868 F.3d 66, 75-80 (2d Cir. 2017) (applying California law and finding that the

plaintiff affirmatively assented to Uber’s mandatory arbitration agreement in its Terms of Service

by creating his account and using the mobile app). Indeed, an arbitration agreement need not be

signed for it to be valid and enforceable. Hoffman v. Compassus, No. 18-0776, 2019 U.S. Dist.

LEXIS 69017, at *19 (E.D. Pa. Apr. 23, 2019) (compelling arbitration where plaintiff did not sign

agreement) (collecting cases). Thus, Plaintiff is bound by his consent to the TOS and the HG

Terms.

            2.      The TOS and HG Terms Clearly and Unmistakably Delegate Issues of
                    Arbitrability to the Arbitrator.

         Because Plaintiff is bound to a valid, enforceable arbitration agreement, the Court should

refer this case to arbitration without further consideration pursuant to the clear and unmistakable

delegation provision that delegates all issues of arbitrability to the arbitrator. Parties can agree to

arbitrate “gateway questions of arbitrability, such as whether the parties have agreed to arbitrate

or whether their agreement covers a particular controversy . . . so long as the parties’ agreement

does so by clear and unmistakable evidence.” Henry Schein, Inc., 139 S. Ct. at 529-30 (citations

and internal quotation marks omitted). This delegation to the arbitrator includes jurisdiction over

both the scope of the arbitration agreement and whether the agreement itself is enforceable against

the plaintiff. See Rent-A-Center, W., Inc. v. Jackson, 561 U.S. 63, 72 (2010) (holding that the




                                                 -8-
        Case 2:23-cv-01379-JFM Document 7 Filed 05/04/23 Page 9 of 19




question of whether the arbitration agreement was unconscionable must be decided by the

arbitrator under provision delegating enforceability issues); Aanderud v. Superior Court, 13 Cal.

App. 5th 880, 897 (2017) (enforcing provision delegating all disputes concerning the

“interpretation, validity, or enforceability,” including “the scope or applicability” of the arbitration

agreement, to the arbitrator).

        Here, the TOS and HG Terms plainly provide that “[i]f there is a dispute about whether

this Arbitration Agreement can be enforced or applies to our Dispute, you and Airbnb agree

that the arbitrator will decide that issue.” Shepherd Decl. ¶¶ 20, 22, 24, Ex. F § 19.4, Ex. G §

X.4. Both agreements also incorporate the AAA Consumer Arbitration Rules, which further gives

the arbitrator “the power to rule on . . . any objections with respect to the existence, scope, or

validity of the arbitration agreement or to the arbitrability of any claim.”            Ex. F § 19.6,

Ex. G § X.6; AAA Commercial Arbitration Rule 14, available at www.adr.org.

        Courts deem delegation language like this—which requires an arbitrator to decide whether

an arbitration agreement applies to the parties’ dispute—sufficient to find that the question of

arbitrability must be arbitrated. See Momot v. Mastro, 652 F.3d 982, 988 (9th Cir. 2011)

(enforcing clause delegating to arbitrator issues of “the validity or application of” the arbitration

provision); Zirpoli v. Midland Funding, LLC, 48 F.4th 136, 138 (3d Cir. 2022) (enforcing clause

delegating questions of “enforceability, or arbitrability of any Claim” to the arbitrator). And

“[v]irtually every circuit to have considered the issue has determined that incorporation of the

American Arbitration Association’s (AAA) arbitration rules constitutes clear and unmistakable

evidence that the parties agreed to arbitrate arbitrability.” Oracle Am., Inc. v. Myriad Grp. A.G.,

724 F.3d 1069, 1074 (9th Cir. 2013) (collecting cases); Dobbs v. Health IQ Ins. Servs., No. 21-




                                                 -9-
        Case 2:23-cv-01379-JFM Document 7 Filed 05/04/23 Page 10 of 19




5276, 2022 U.S. Dist. LEXIS 133182, at *13 (E.D. Pa. July 27, 2022); Richardson v. Coverall N.

Am., Inc., 811 F. App'x 100, 103 (3d Cir. 2020).

        Courts around the country have enforced Airbnb’s delegation provision, explaining that it

“is neither silent nor ambiguous, and specifically designates the arbitrator to decide disputes about

whether the arbitration agreement is enforceable or applicable.” Dunbar v. Airbnb, Inc., 2020

U.S. Dist. LEXIS 56828, at *8 (D. Haw. Apr. 1, 2020) (enforcing Airbnb’s delegation clause); see

also Airbnb, Inc. v. Doe, 336 So. 3d 698, 705-06 (Fla. 2022) (“We hold that, because Airbnb’s

Terms of Service incorporate by reference the AAA Rules that expressly delegate arbitrability

determinations to an arbitrator, the agreement clearly and unmistakably evidences the parties’

intent to empower an arbitrator, rather than a court, to resolve questions of arbitrability.”); Farmer

v. Airbnb, Inc., No. 20-cv-07842-JST, 2021 U.S. Dist. LEXIS 206791, at *3 (N.D. Cal. June 1,

2021) (finding the plaintiff’s challenge to arbitration was for arbitrator under TOS’ delegation

provision); Walter v. Airbnb, Inc., 2021 U.S. Dist. LEXIS 25924, at *1 (M.D. Fla. Feb. 11, 2021)

(enforcing the TOS’ delegation provision); Morris v. Airbnb, Inc., 2020 U.S. Dist. LEXIS 180532,

at *7 n.2 (W.D. Okla. Sept. 30, 2020) (same); McCluskey v. Airbnb, Inc., 2018 Cal. Super. LEXIS

2453, at *1 (San Francisco Sup. Ct. May 30, 2018) (granting Airbnb’s motion to compel

arbitration and enforcing delegation provision); Senders v. Airbnb, Inc., 2018 Cal. Super. LEXIS

763, at *1 (San Francisco Sup. Ct. March 14, 2018) (same). This Court should do the same and

refer this case to arbitration.

            3.      Plaintiff’s Claims Are Also Within the Arbitration Agreement’s Scope.

        Plaintiff’s claims also fall within the arbitration agreement’s scope. The arbitration

agreement in the HG Terms provides “any dispute, claim or controversy arising out of or relating




                                                - 10 -
       Case 2:23-cv-01379-JFM Document 7 Filed 05/04/23 Page 11 of 19




to these [HG] Terms or the breach, termination, enforcement or interpretation thereof, or to the

use of the Airbnb Platform, the Host Services, or the Collective Content … will be settled by

binding arbitration.” Shepherd Decl. ¶ 22, Ex. G § X.4. Courts in this jurisdiction have held that

“an arbitration clause that uses ‘language such as ‘any dispute that arises out of or relates to’ the

agreement, or disputes that are ‘in connection with’ the agreement’ is characterized as broad,” and

“govern disputes beyond those that involve the terms of the contract in which the arbitration clause

appears.” Hearon v. AstraZeneca LP, No. 02-3189, 2003 U.S. Dist. LEXIS 6628, at *14 (E.D.

Pa. Mar. 24, 2003) (collecting cases). Here, there is no doubt that Plaintiff’s claims fall within

this scope, as he seeks to recover damages that allegedly occurred during and after a reservation

booked through the Platform. See Shepherd Decl. ¶¶ 20-21. Furthermore, even if Plaintiff does

not seek to recover damages under the HG Terms, his claims still necessarily fall within the scope

of the arbitration agreement contained in the TOS, which applies to all aspects of the relationship

between Plaintiff and Airbnb, and states that “any dispute, claim or controversy arising out of or

relating to these Terms or the applicability, breach, termination, validity, enforcement or

interpretation thereof, or to the use of the Airbnb Platform, the Host Services, the Group Payment

Service, or the Collective Content … will be settled by binding individual arbitration.” Id. ¶ 20,

Ex. F § 19.4. Taken together, there can be no doubt that Plaintiff’s claims fall within the scope

of the two arbitration agreements to which he consented. And even if there was doubt, it must be

resolved in favor of arbitration. See Lukens Steel, 969 F.2d at 1474 (explaining that all doubts

should be resolved in favor of arbitration). Because Plaintiff is bound to an arbitration agreement




                                               - 11 -
        Case 2:23-cv-01379-JFM Document 7 Filed 05/04/23 Page 12 of 19




and his claims fall within the agreement’s scope, the Court should compel arbitration.



            4.      The Litigation Must Be Stayed Pending Arbitration.

       Section 3 of the FAA requires courts to stay litigation upon referring a dispute to

arbitration. 9 U.S.C. § 3. A stay is required here because Plaintiff must arbitrate all claims against

Airbnb, as well as any gateway issues of enforceability, scope, and validity. See Countrywide

Home Loans, Inc. v. Mortg. Guar. Ins. Corp., 642 F3d 849, 854 (9th Cir. 2011) (explaining that a

stay is mandatory once the court determines the parties’ dispute is subject to arbitration); DCK N.

Am., LLC v. Burns & Roe Servs. Corp., 218 F. Supp. 3d 465, 471 (W.D. Pa. 2016) (same). Thus,

this Court should compel Plaintiff to arbitration and must stay these proceedings in the interim.

       B.        In the Alternative, the Court Should Dismiss Plaintiff’s Complaint Against
                 Airbnb for Lack of Personal Jurisdiction.

       Even if the Court determines that Plaintiff is not subject to mandatory arbitration (which

he is), it should dismiss Plaintiff’s Complaint because Plaintiff has not and cannot satisfy his

burden of establishing that personal jurisdiction over Airbnb exists in Pennsylvania. See Danziger

& De Llano, LLP v. Morgan Verkamp LLC, 948 F.3d 124, 129 (3d Cir. 2020) (explaining it is the

plaintiff’s burden to establish personal jurisdiction).       Pennsylvania law extends personal

jurisdiction to the fullest extent permitted under the Fourteenth Amendment, meaning Plaintiff

must demonstrate that Airbnb is subject to either general personal jurisdiction or specific personal

jurisdiction. See Fischer v. Fed. Express Corp., 42 F.4th 366, 383 (3d Cir. 2022) (holding

plaintiffs failed to establish either general or specific personal jurisdiction in Pennsylvania over

foreign corporation). Courts may assert general jurisdiction over a corporation when its contacts

with the forum are so continuous and systematic as to render it essentially “at home” in the forum.




                                                - 12 -
        Case 2:23-cv-01379-JFM Document 7 Filed 05/04/23 Page 13 of 19




See id. (concluding that a Delaware corporation with its principal place of business in Tennessee

was not sufficiently “at home” in the forum to establish general personal jurisdiction). For specific

personal jurisdiction, the inquiry focuses on whether Airbnb has the requisite minimum contacts

with Pennsylvania. See Danziger & De Llano, 948 F.3d at 129-30 (concluding defendant’s

contacts with Pennsylvania were insufficient to establish the requisite minimum contacts).

        As demonstrated below, the Court does not have general or specific personal jurisdiction

over Airbnb.     Plaintiff’s incorrect assertion that Airbnb is registered to do business in

Pennsylvania and conclusory suggestion that Airbnb conducts business in the forum fall well short

of satisfying his burden here. Thus, the Court should dismiss Airbnb for lack of personal

jurisdiction.

                1.     General Personal Jurisdiction Does Not Exist in Pennsylvania.

        As an out-of-state corporation, Airbnb is not subject to general personal jurisdiction in

Pennsylvania. Foreign corporations like Airbnb are essentially “at home” in their state of

incorporation and state of their principal place of business. See Fischer, 42 F.4th at 383; Eyajan

v. Nesco Res., LLC, No. 1:20-cv-204, 2022 U.S. Dist. LEXIS 178324, at *9 (W.D. Pa. Sep. 30,

2022) (finding no general jurisdiction over foreign corporations that were not incorporated in

Pennsylvania and did not maintain their principal place of business in the forum); see also Daimler

AG v. Bauman, 571 U.S. 117, 139 (2014). As a Delaware corporation with its principal place of

business in California, Airbnb has no continuous and systematic contacts with Pennsylvania.

Shepherd Decl. ¶ 2. Accordingly, Airbnb is not subject to general personal jurisdiction in

Pennsylvania.

                2.     Specific Personal Jurisdiction Does Not Exist in Pennsylvania.




                                               - 13 -
       Case 2:23-cv-01379-JFM Document 7 Filed 05/04/23 Page 14 of 19




       Airbnb also is not subject to specific personal jurisdiction in Pennsylvania. To establish

specific personal jurisdiction, two elements must be satisfied: (1) Airbnb must have purposefully

directed its activities at Pennsylvania and (2) Plaintiff’s claims must arise out of and relate to

those activities. See Danziger & De Llano, 948 F.3d at 129; Travers v. FedEx Corp., 584 F. Supp.

3d 1, 5 (E.D. Pa. 2022) (concluding that foreign corporations did not have sufficient minimum

contacts with Pennsylvania because Plaintiff did not “demonstrate ‘a strong relationship among

the defendant, the forum, and the litigation.’”) (internal quotation omitted)). 3 As demonstrated

below, Airbnb has not purposefully directed any contact at Pennsylvania. Moreover, Plaintiff’s

claims, stemming from alleged damages caused by a guest at a property Airbnb did not own or

control, certainly do not arise out of or relate to any of Airbnb’s contacts with Pennsylvania. Thus,

Airbnb is not subject to specific personal jurisdiction in Pennsylvania.

                       a.      Airbnb Did Not Purposefully Direct Any Conduct at
                               Pennsylvania.

       To establish that Airbnb purposefully directed its conduct at Pennsylvania, Plaintiff must

prove that Airbnb deliberately targeted Pennsylvania—Plaintiff’s unilateral contact with Airbnb

is not enough. See Travelers Cas. v. Copeland Corp. LLC, Civil Action No. 22-cv-725, 2022 U.S.

Dist. LEXIS 215337, at *38 (W.D. Pa. Nov. 30, 2022) (finding no purposeful direction to

Pennsylvania where defendant’s contact was far too attenuated); see also Scott v. Lackey, 587 F.

App'x 712, 716 (3d Cir. 2014) (citing Walden v. Fiore, 571 U.S. 277, 284 (2014). Random,



3
  Even if these two elements existed, which they do not, the Court must also consider whether
exercising personal jurisdiction over Airbnb offends traditional notions of fair play and substantial
justice. See Kennedy v. Help at Home, LLC, 731 F. App'x 105, 107 (3d Cir. 2018). Because
Airbnb did not purposefully direct any conduct at Pennsylvania and Plaintiff’s claims do not arise
out of any contact with Pennsylvania, subjecting Airbnb to personal jurisdiction in
Pennsylvania would offend traditional notions of fair play and substantial justice. See id.




                                               - 14 -
       Case 2:23-cv-01379-JFM Document 7 Filed 05/04/23 Page 15 of 19




isolated, and fortuitous contacts with the forum likewise fail to establish purposeful direction.

Marten v. Godwin, 499 F.3d 290, 297 (3d Cir. 2007) (finding no purposeful direction for where

defendant did nothing more than direct some communications to Pennsylvania). Airbnb has not

purposefully directed any contact to Pennsylvania because (i) Airbnb operates a global online

marketplace and (ii) contrary to Plaintiff’s baseless assertions, Airbnb does not make

determinations as to who makes reservations or stays at the Premises.

       First, Airbnb simply provides a global online marketplace—the Platform—that is

accessible to anyone, anywhere with internet access. Shepherd Decl. ¶ 2, Ex. F § 1.1. The

Platform is not specifically targeted to Pennsylvania residents. A commercial website, like the

Platform, that is generally accessible anywhere is insufficient to establish purposeful direction

with the forum. See Ackourey v. Sonellas Custom Tailors, 573 F. App'x 208, 212 (3d Cir. 2014)

(finding no purposeful direction based on publicly available website which allowed potential

customers to initiate contacts for services). In PrimePay, LLC v. Prime Tr., LLC, this Court held

that personal jurisdiction did not exist in Pennsylvania where the defendant’s only contact with

the forum was its passive website, which displayed an allegedly infringing mark. 559 F. Supp.

3d 394, 400 (E.D. Pa. 2021). The court found dispositive that transactions did not occur until

potential customers initiated contact with defendant and agreed to a contract governing their

relationship and contacts with defendant. Id.

       Such is the case here: the Platform offers a direct link for Members to communicate and

contract directly with each other—nothing more. See Shepherd Decl. ¶ 2, Ex. F § 1.1. Courts in

other jurisdictions have also refused to exercise personal jurisdiction over a non-resident

defendant who runs a reservation website. In Conrad v. Benson, No. 9:20-cv-1811-RMG, 2020




                                                - 15 -
        Case 2:23-cv-01379-JFM Document 7 Filed 05/04/23 Page 16 of 19




U.S. Dist. LEXIS 149427, at *10-12 (D.S.C. Aug. 13, 2020), the Court found that it lacked

personal jurisdiction over HomeAway.com, Inc., a Texas-based reservation website, that, like

Airbnb, allows third party hosts to list their properties for rental by third party guests. The Conrad

Court explained that it was not enough that the website was accessible to people in the forum or

that the host and guest had used the website to rent and book a property in the forum because

HomeAway.com had not done anything to target the forum and did not itself lease properties in

the forum. Id. A California court reached the same conclusion in Schwartz v. Poblete, No.

20STCV22663, 2021 Cal. Super. LEXIS 5573, at **24-25 (LA County Superior Court, Feb. 22,

2021). Like in Conrad, the Schwartz Court held that HomeAway.com’s “mere maintenance of

the website advertising the third-party property rentals is insufficient to establish personal

jurisdiction” in California. Schwartz, 2021 Cal. Super. LEXIS 5573, at *25. That Plaintiff listed

his Pennsylvania property on the globally accessible Platform does not and cannot satisfy the

requirement that Airbnb purposefully directed its conduct at Pennsylvania residents. Thus,

operation of the Platform, without more, does not constitute purposeful direction towards

Pennsylvania.

       Second, the TOS contradicts and defeats Plaintiff’s naked assertions that Airbnb places

guests in properties or decides for a host who will be a guest. See Pls.’ Compl. at ¶¶ 25-28. The

TOS is clear: “As the provider of the Airbnb Platform, Airbnb does not own, create, sell, resell,

provide, control, manage, offer, deliver, or supply any Listings or Host Services”; does not even

have any right to access the Premises; and is not acting as an agent for any Member, or as a real

estate broker, or as an insurer. Shepherd Decl. ¶¶ 3, 6, Ex. F §§ 1.2-1.3. The TOS is equally clear

that hosts, like Plaintiff, operate as independent individuals and not as “an employee, agent, joint




                                                - 16 -
       Case 2:23-cv-01379-JFM Document 7 Filed 05/04/23 Page 17 of 19




venturer or partner of Airbnb for any reason.” Id. ¶ 3, Ex. F § 1.4. Thus, Airbnb did not and

could not purposefully direct any contact towards Pennsylvania based on the location of Plaintiff’s

property.

       Third, and finally, Plaintiff’s vague suggestion that Airbnb and Plaintiff entered an

agreement to rent the Plaintiff’s property does not establish any purposeful direction by Airbnb at

Pennsylvania. It is well-established that an individual’s contract with a nonresident cannot alone

establish sufficient minimum contacts in the other party’s home forum. Burger King, 471 U.S. at

478; Marten, 499 F.3d at 297. Moreover, the only agreement that exists between Airbnb and

Plaintiff—the TOS—applies to all members and governs members’ “access to and use of” the

Platform. Shepherd Decl. ¶ 6, Ex. F § 17. Any agreement to book the property for a short-term

rental is between Plaintiff and the guest who books the property, not Airbnb. See id. ¶ 4, Ex. F

§§ 1.2, 7.1.7, 8.1.2. Thus, Plaintiff’s unsupported allegations about an agreement do not support

any purposeful conduct by Airbnb toward Pennsylvania.

       Based on the foregoing, it is clear that Airbnb did not purposefully direct its conduct

toward Pennsylvania. Thus, on this basis alone, the Court should dismiss Plaintiff’s Complaint

for lack of personal jurisdiction and grant Airbnb’s Motion. See Travers, 584 F. Supp. 3d at 5

(finding no specific personal jurisdiction where plaintiff failed to demonstrate foreign defendant

purposefully directed contact at Pennsylvania).

                       b.      Plaintiff’s Claims Do Not Arise Out of or Relate to the
                               Airbnb’s Contacts with Pennsylvania.

       Even if Plaintiff could establish that Airbnb purposefully directed its conduct at

Pennsylvania (which he cannot), Plaintiff’s claims do not arise out of or relate to Airbnb’s contacts

with Pennsylvania. As the provider of a globally accessible internet platform that does not own,




                                               - 17 -
        Case 2:23-cv-01379-JFM Document 7 Filed 05/04/23 Page 18 of 19




operate, or control Plaintiff’s property, any contacts Airbnb had with Pennsylvania have no

connection whatsoever to the claims asserted here. See Hepp v. Facebook, 14 F.4th 204, 208 (3d

Cir. 2021) (holding that the defendants’ internet marketing contacts with the forum did not relate

to plaintiff’s misappropriation claim because plaintiff did not allege the defendants sold

merchandise with her likeness or hosted the misappropriated picture in the forum). That Plaintiff’s

alleged injuries occurred in the forum, without more, is insufficient to establish that his claims

arise out of or relate to Airbnb’s contact with Pennsylvania. See Walden v. Fiore, 571 U.S. 277,

285 (2014) (holding that “the plaintiff cannot be the only link between the defendant and the

forum”).    Thus, the Court should dismiss Plaintiff’s claims for lack of specific personal

jurisdiction.

IV.     CONCLUSION

        Based on the foregoing, Plaintiff’s claims against Airbnb cannot proceed in this forum.

Plaintiff is bound to the mandatory arbitration agreement in the HG Terms and the TOS and its

claims undoubtedly arise out of and relate to the HG Terms and the TOS. And, because Airbnb

does not have sufficient minimum contacts with this forum, this Court cannot exercise personal

jurisdiction over it. Accordingly, Airbnb respectfully request that the Court grant the Motion and

compel Plaintiff to arbitration and stay these proceedings in the interim, or in the alternative,

dismiss Plaintiff’s Complaint for lack of personal jurisdiction, and grant all other relief deemed

fair and equitable.




                                              - 18 -
Case 2:23-cv-01379-JFM Document 7 Filed 05/04/23 Page 19 of 19




Respectfully submitted this 4th day of May, 2023.


                                    KELLY J. FOX
                                    Kelly J. Fox
                             GEROLAMO McNULTY DIVIS, LEWBART & FOX
                             121 S. Broad Street, Suite 1400
                             Philadelphia, Pennsylvania 19107
                             Telephone: (215) 790-8400
                             Email: kfox@gmdlfirm.com


                                     Attorneys for Respondent Airbnb, Inc.




                                     - 19 -
